1:19-cv-01388-SLD-JEH # 31-4   Filed: 12/23/20   Page 1 of 4
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                                                     Clerk, U.S. District Court, ILCD




          EXHIBIT C
                       1:19-cv-01388-SLD-JEH # 31-4               Filed: 12/23/20      Page 2 of 4



    Barry M. Cheek, PE, MBA

                                      Engineering Project Manager
           Extensive success leading engineering design teams in HVAC and process system design and testing for
                                        commercial, industrial, and nuclear projects

    Innovative, results-oriented professional engineer with extensive engineering experience, credited with expertise in
    the nuclear energy industry. Analytic professional skilled at the conceptualization, design, and implementation of
    mechanical systems and processes, recognized for implementing productivity improvements. Collaborative
    communicator focused on building top-performing teams and promoting multidisciplinary cooperation to drive positive
    change and achieve project goals.
                                                   Highlights of Expertise
•     Program/Project Management               •   Budget Administration         •   Vendor Selection & Management
•     Team Building & Leadership               •   Resource Allocation           •   Cost Estimates/Bid Packages
•     Agile Scrum Methodologies                •   Continuous Improvement        •   Safety & Regulatory Compliance
•     Employee Training & Development          •   Data & Trend Analysis         •   Stakeholder Communication


    Professional Experience
    BC ENGINEERING SERVICES, LLC, Columbia, SC
    Lead HVAC Engineer (2019 - Present)
    Provided all technical basis documents necessary to design and construct a first-of-kind modular HVAC System
    for a 3-level 50,000 + sq. ft. process facility supporting the microchip manufacturing process.
    Ensured technical merit and quality of engineered systems from conceptual development and design through to
    installation and inspection. Design work included airflow calculations; block load analyses using Trace 700
    software; process flow diagrams (PFDs) & piping and instrumentation diagrams (P&IDs); vendor submittal
    approvals, and revisions; markup and coordination of ductwork layout drawings/3D models. Coordinated with
    multidisciplinary teams and external designers, fabricators, and suppliers while ensuring compliance with
    company procedures, specifications and standard installation details (SIDs).
       • Achieved timely and within budget delivery of a $20M state of the art HVAC system from conceptual
         design through installation and inspection.
       • Adhered to equipment requirements based on European Union (EU) standards and CE compliance.
         Ensured all equipment manufactured domestically either met or exceeded EU standards.

    TRANE, Columbia, SC
    Program Manager (2018)
    Spearheaded the planning and execution of a large, complex productivity program in coordination with the
    leaders of six distinct business units for this world leader in air conditioning systems, services, and solutions.
    Developed and implemented short-and-long term strategies to achieve corporate productivity goals of $4.1M
    per year. Boosted company profitability and maintained a 12-month rolling pipeline of productivity projects
    utilizing Scrum methodologies, prioritizing projects based on viability and risk assessments. Monitored 150
    projects and analyzed monthly profit and loss statements to optimize resource allocation based on product
    demand and resource constraints. Developed and presented business cases and capital expenditure requests
    to support the procurement of new plant equipment.
       •     Streamlined product management and change/configuration management through use of Windchill
             software.
       • Increased employee engagement by spearheading a company-wide competition for 300+ employees to
         submit ideas to enhance company efficiencies and overall productivity.
                                                                                                             continued...
1:19-cv-01388-SLD-JEH # 31-4   Filed: 12/23/20   Page 3 of 4
1:19-cv-01388-SLD-JEH # 31-4   Filed: 12/23/20   Page 4 of 4
